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                                   Exhibit 9


Declaration of John A. Safarli in Support of City’s Motion for Entry of Proposed
                      Remedial Plan and Final Injunction


                          Glatt v. City of Pasco, et al.
                           No. 4:16-CV-05108-LRS
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                                        MINUTES
REGULAR MEETING                  PASCO CITY COUNCIL                        SEPTEMBER 19, 2016


      MOTION: Ms. Francik moved to direct staff to prepare for submission of a 6- 1
      voting system for City Council elections to the Federal Court. Mr. Hoffmann
      seconded. Motion carried
                                by the following Roll Call vote: Yes - Watkins,
      Francik, Hoffmann, Larsen, Martinez. No - Yenney.



      Mr. Strebel noted a public hearing on potential district boundaries is scheduled
      for October 3rd, with Council adopting district boundaries on October 10th.

      He also noted applications for the District 4 vacancy are due September 30th,
      with interviews and an appointment to be made no later than October 24th.


ADJOURNMENT:



      There being no further business, the meeting was adjourned at 7: 42 p.m.

APPROVED:                                         ATTEST:




                                                              r
 J
Matt Watkins, Mayor                                    i ra   C ar ,   City Clerk

                  PASSED and APPROVED this 3rd day of October, 2016




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                                                              Exhibit 9, Page 001
